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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

LONGBEAM TECHNOLOGIES LLC, )
                           )
             Plaintiff,    )
                           )
        v.                 )                   C.A. No. 21-1559 (CFC)
                           )
AMAZON.COM, INC. and       )
AMAZON WEB SERVICES, INC., )
                           )
             Defendants.   )


              DECLARATION OF DAVID A. ZUCKER
      IN SUPPORT OF AMAZON DEFENDANTS’ OBJECTION TO
     LONGBEAM’S CORPORATE DISCLOSURE STATEMENT AND
         STATEMENT REGARDING THIRD-PARTY FUNDING

      I, David A. Zucker, hereby declare and state as follows:

      1.     I am an attorney at the law firm of Latham & Watkins LLP, and counsel

of record for Amazon.com, Inc. and Amazon Web Services, Inc. (collectively

“Amazon”) in the above captioned case.

      2.     I submit this declaration in support of Amazon’s Objection to

Longbeam’s Corporate Disclosure Statement and Statement Regarding Third-Party

Funding filed herewith.

      3.     I have personal knowledge of the facts set forth in this declaration, and

if called as a witness, could and would competently testify thereto.

      4.     Attached as Exhibit A is a true and correct copy of the patent


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assignment for U.S. Patent Nos. 7,660,418; 8,472,627; 7,512,989; and 10,715,316

(among others), as recorded with the United States Patent And Trademark Office.

Highlighting has been added to the relevant portions of the document.

      5.    Attached as Exhibit B is a true and correct copy of the article titled

More IP Edge Litigation Launched Over Former Empire Technology Patents, This

Time Targeting Infrastructure Products, dated August 3, 2021. Highlighting has

been added to the relevant portions of the document.

      6.    Attached as Exhibit C is a true and correct copy of the article titled

Patent Filings Roundup: In a Slow Week, IP Edge Hits Amazon on Cryptographic

Keys and Jeffrey Gross-Run Entities Proliferate, dated November 10, 2021.

Highlighting has been added to the relevant portions of the document.

      7.    Attached as Exhibit D is a true and correct copy of the Team page from

the website of IP Edge, retrieved from ip-edge.com/team/ on July 25, 2022.

Highlighting has been added to the relevant portions of the document.

      8.    Attached as Exhibit E is a true and correct copy of the article titled

Plaintiff Newly Assigned to Judge Connolly’s Courtroom Amends Its Prior

Disclosure, dated May 22, 2022. Highlighting has been added to the relevant

portions of the document.

                                  *     *      *

      I declare under penalty of perjury under the laws of the United States of


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America and the State of Delaware that the foregoing is true and correct.

      Executed on July 25, 2022 in Raleigh, North Carolina.

                                                          /s/ David A. Zucker
                                                          David A. Zucker




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                           CERTIFICATE OF SERVICE

      I hereby certify that on July 25, 2022, I caused the foregoing to be

electronically filed with the Clerk of the Court using CM/ECF, which will send

notification of such filing to all registered participants.

      I further certify that I caused copies of the foregoing document to be served

on July 25, 2022, upon the following in the manner indicated:

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                                                /s/ Jeremy A. Tigan

                                                Jeremy A. Tigan (#5239)
